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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


UNITED STATES OF AMERICA

V.                                                         NO.

SLATER WASHBURN SWARTWOOD,
SR.



                                WAIVER OF INDICTMENT


        Slater Washbum Swartwood, Sr., the defendant, has been infonned that a one

count felony information has been filed which accuses the defendant of committing a

violation of 18 U.S.C. § 371, that is, conspiracy to commit money laundering.

        The defendant, being advised of the nature of the above charge(s) and the

proposedfelony information, understands the following:

        1.     The defendant has the right to have the defendant's case presented to a

               Federal Grand Jury;

        2.     The Grand Jury must consist of citizens of the Northern District of Texas,

                and the Grand Jury must consist of not more than 23 nor less than 16

                citizens, 12 of whom must vote in favor of an indictment before such an

                indictment is returned or "true billed";

        3.      In order to return a "trae bill" of indietment, the Grand Jury must find from

                the evidence presented, thatthere is probable causeto believe that a federal




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                  offense has been committed and that the defendant committed that federal
                  offense;

          4.      The defendant may waive or give up the defendant's clear legal right to
                  have the defendant's case presented to the Grand Jury; and
          5.      The defendant has discussed the right to waive or give up having the
                 defendant's case presented to the Grand Jury with the defendant's lawyer,
                 and the defendant's lawyer has fully explained the consequences ofwaiving
                 this legal right.

         After consultation with counsel, the defendant hereby voluntarily, Icnowingly, and
 intelligently waives now and agrees to later waive in open court the defendant's legal
 right to have the defendant's case presented to aFederal Grand Jury and consents that the
piosecution may proceed by information rather than by indictment.

Signed this the            day of                               , idX



S^TER WASHBURN                                    M. stern
                                                  max
  fARTWOOD, SR.                                   Attorney for Defendant
Defendant




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